Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.1 Filed 08/14/22 Page 1 of 16

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
STEPHANIE A. USEVICZ,

Plaintiff FDCPA AND BREACH OF
PRIVACY ASPECT OF FDCPA
AND MRCPA COMPLAINT &
JURY DEMAND

Case No.

Hon.

Magistrate Judge:
Vv.

WELTMAN WEINBERG & REIS CO. OF
MICHIGAN and WELTMAN WEINBERG & REIS
CO., LPA

Defendant.

COMPLAINT AND DEMAND FOR JURY TRIAL

NOW COMES the Plaintiff, STEPHANIE USEVICZ (Hereinafter termed
“Plaintiff” or “Usevicz” or “Ms. Usevicz’”), against Defendants WELTMAN
WEINBERG & REIS CO. OF MICHIGAN and WELTMAN WEINBERG &

REIS CO., LPA (Hereinafter referred to as “Weltman” or “Defendant”) and state:

I, PRELIMINARY STATEMENT OF THE FDCPA AND MRCPA
ALLEGATIONS

The Plaintiff brings this class action based upon the Defendant’s violations of

the Fair Debt Collection Practices Act (FDCPA), 15 U.S.C. 1692 et seg, and
Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.2 Filed 08/14/22 Page 2 of 16

violations of The Regulation of Michigan Collection Practices Act (RMCPA),
codified at MCL 445.251 et seq. for:

(1) Exposing the private debt information of Plaintiff and the fact that Ms.
Usevicz was being sued by a debt collector in a collection communication
to a third-party process server without the express permission of a court of
competent jurisdiction in violation of 15 USC 1692c(b); and

(2) Contacting Ms. Usevicz with a collection communication through a third
party process server when Defendant Weltman knew that Plaintiff was
represented by attorney counsel at the time of the collection contact in
violation of 15 USC 1692c(a)(1), (2) and in violation of 15 USC 1692n.

Please see Exhibit 1 and Exhibit 2 and Exhibit 3.

Il. PARTIES
I The Plaintiff is a natural person and consumer as defined by 15 U.S.C. 1692a

(3) and located in Wayne County, State of Michigan. Please see Exhibit 1.

2. Defendant Weltman is a Michigan and Ohio Entity incorporated in the State
of Michigan and a debt collector whose principal business purpose is the collection
of defaulted debts through Michigan collection lawsuits and has a resident agent
and address located in the City of Plymouth, County of Wayne, State of
Michigan.

Hil. JURISDICTION AND VENUE

Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.3 Filed 08/14/22 Page 3 of 16

B This court has subject matter jurisdiction over this Complaint pursuant to the
FDCPA, 15 U.S.C. 1692 et seqg., 28 U.S.C. 1331 and 28 U.S.C. 1367. The venue is
proper in any court of competent jurisdiction under 15 U.S.C. 1692k(d) and the
RMCPA.

IV. STATUTES THAT APPLY TO THIS CASE

4. Weltman was regulated by the Fair Debt Collection Practices Act (FDCPA),
15 U.S.C. 1692 et seg, and the Regulation of Michigan Collection Practices Act
(RMCPA), codified at MCL 445.251 et seq. when collecting on the debt for Navient
Credit Finance Corporation at the case, Navient Credit Finance Corporation v
Stephanie A. Usevicz, Case # 22-007344-CK in Wayne County Circuit when the
Plaintiff was contacted by the Weltman after it knew Plaintiff was represented by an
attorney.

5, 15 U.S.C. 1692c(b) states that:

15 U.S. Code § 1692c - Communication in connection with debt collection

(b)COMMUNICATION WITH THIRD PARTIES

Except as provided in section 1692b of this title, without the prior consent of

the consumer given directly to the debt collector, or the express permission of a
court of competent jurisdiction, or as reasonably necessary to effectuate a
postjudgment judicial remedy, a debt collector may not communicate, in
connection with the collection of any debt, with any person other than

the consumer, his attorney, a consumer reporting agency if otherwise permitted by

law, the creditor, the attorney of the creditor, or the attorney of the debt collector.
Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.4 Filed 08/14/22 Page 4 of 16

6. 15 U.S.C. 1692n states that:

15 U.S. Code § 1692n. Relation to State laws

This subchapter does not annul, alter, or affect, or exempt any person subject to the
provisions of this subchapter from complying with the laws of any State with respect
to debt collection practices, except to the extent that those laws are inconsistent with
any provision of this subchapter, and then only to the extent of the inconsistency.
For purposes of this section, a State law is not inconsistent with this subchapter if
the protection such law affords any consumer is greater than the protection provided
by this subchapter.

7.  At15 U.S. Code § 1692 - Congressional findings and declaration of purpose

to protect the privacy rights of a consumer state:

(a)ABUSIVE PRACTICES

There is abundant evidence of the use of abusive, deceptive, and

unfair debt collection practices by many debt collectors. Abusive debt collection
practices contribute to the number of personal bankruptcies, to marital instability,

to the loss of jobs, and to invasions of individual privacy.

8. 15 U.S.C. 1692c states that:

(a)COMMUNICATION WITH THE CONSUMER GENERALLY

Without the prior consent of the consumer given directly to the debt collector or
the express permission of a court of competent jurisdiction, a debt collector may
not communicate with a consumer in connection with the collection of any debt—
(1) at any unusual time or place or a time or place known or which should be
known to be inconvenient to the consumer. In the absence of knowledge of
circumstances to the contrary, a debt collector shall assume that the convenient
time for communicating with a consumer is after 8 o’clock antemeridian and

before 9 o’clock postmeridian, local time at the consumer’s location;
Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.5 Filed 08/14/22 Page 5 of 16

(2) if the debt collector knows the consumer is represented by an attorney with
respect to such debt and has knowledge of, or can readily ascertain, such attorney’s
name and address, unless the attorney fails to respond within a reasonable period
of time to a communication from the debt collector or unless the attorney consents
to direct communication with the consumer; or

(3) at the consumer’s place of employment if the debt collector knows or has
reason to know that the consumer’s employer prohibits the consumer from
receiving such communication.

9. Under the FDCPA, a consumer is any natural person obligated or allegedly
obligated to pay any debt. 15 U.S.C. 1692a (3). Under the FDCPA, a debt means
any obligation or alleged obligation of a consumer to pay money arising out of a
transaction in which the money, property, insurance, or services, which are the
subject of the transaction, are primarily for personal, family, or household purposes.
15 U.S.C. 1692a (5).

10. Under the FDCPA, a debt collector is any person who uses any instrumentality
of interstate commerce or the mails in any business the principal purpose for which
is the collection of any debts, or who regularly collects or attempts to collect, directly
or indirectly, debts owed or due or asserted to be owed or due to another. 15 U.S.C.
1692a (6) and 15 U.S.C. 1692a(6)(f)(iii) as the debt was in default when purportedly
obtained and collected upon by Defendant Weltman.

11. Defendant Weltman is a debt collector whose primary purpose is the

collection of debts through lawsuits and is not a creditor. 15 U.S.C. 1692a (6).
Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.6 Filed 08/14/22 Page 6 of 16

12. The FDCPA defines “communication” at 15 U.S.C. § 1692a (3) as “the
conveying of information regarding a debt directly or indirectly to any person
through any medium” and Weltman was communicating debt collection information
through its lawsuit and specifically, the Summons and Complaint when serving Ms.
Usevicz.

13. The FDCPA prohibits a debt collector, in connection with a debt, from
communicating with third parties, 15 U.S.C. 1692c(b). Obduskey v McCarthy &
Holthus LLP, 139 S.Ct. 1029 (2019).

14. The FDCPA is a strict liability statute, which provides for actual or statutory
damages upon the showing of one violation.

15. In violation of 15 USC 1692c(b) and 15 U.S.C. §§ 1692c(a) the Defendant
provided Ms. Usevicz’s personal debt information to the Defendant’s process server

in breach of Mr. White’s right to privacy and served Ms. Usevicz when the
Defendant knew Plaintiff was represented by an attorney while collecting a debt.

Please see Exhibit 1.

16. Any debt collector who fails to comply with the provisions of the FDCPA is
liable for any actual damages sustained, statutory damages up to $1,000.00,
attorney’s fees as determined by the Court and costs of this action. 15 U.S.C. 1692k.
17. The RCPA mirrors the requirements and remedies of the FDCPA with the

same 6" Circuit use of the “least sophisticated consumer” standard. McKeown v.
Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.7 Filed 08/14/22 Page 7 of 16

Mary Jane M. Elliott P.C., No. 07-12016—BC, 2007 WL 4326825, at *5 (E.D.Mich.
Dec. 10, 2007) (citing Hubbard v. Nat'l Bond and Collection Assocs., Inc., 126 B.R.
422, 426 (D.Del.1991)) held that “§ 445.252(e) applies to Defendant, its analysis is
similar to that under § 1692e of the FDCPA, both of which bar misleading and
deceptive communications... Considering the similarity between 15 U.S.C. § 1692e
and these causes of action, it appears appropriate to view Plaintiffs claims under the
same “least sophisticated consumer” standard.

18. The RCPA prohibits debt collectors from using deceptive, coercive,
threatening, abusive, and other repugnant practices for the purpose of collecting a
consumer debt. “The RPCA mirrors the requirements and remedies of the FDCPA
with the same 6" Circuit use of the “least sophisticated consumer” standard of
Kistner, 518 F.3d at 441. McKeown v. Mary Jane M. Elliott P.C., No. 07—12016—
BC, 2007 WL 4326825, at *5 (E.D.Mich. Dec. 10, 2007) (citing Hubbard v. Nat'l
Bond and Collection Assoes., Inc., 126 B.R. 422, 426 (D.Del.1991)).

19. Defendant is a regulated agency under the RCPA. See Misleh v Timothy E.
Baxter & Associates, 786 F Supp. 2d 1330(E.D. Mich 2011; Newman v. Trott &
Trott, PC, 889 F. Supp. 2d 948 - Dist. Court, ED Michigan 2012; Baker v.
Residential Funding Co., LLC, 886 F. Supp. 2d 591 - Dist. Court, ED Michigan

2012.
Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.8 Filed 08/14/22 Page 8 of 16

20. “Person” means an individual, sole proprietorship, partnership, association,
or corporation. Defendant is a regulated person under § 445.251(g)(xi). Defendant
is violating the following RCPA subsections:

21. 445.252 Prohibited acts.

(a) Communicating with a debtor in a misleading or deceptive manner, such as
using the stationery of an attorney or credit bureau unless the regulated person is
an attorney or is a credit bureau and it is disclosed that it is the collection
department of the credit bureau; and

(h) Communicating with a debtor, except through billing procedure when the
debtor is actively represented by an attorney, the attorney's name and address are
known, and the attorney has been contacted in writing by the credit grantor or the
credit grantor's representative or agent, unless the attorney representing the debtor
fails to answer written communication or fails to discuss the claim on its merits
within 30 days after receipt of the written communication; and

(n) Using a harassing, oppressive, or abusive method to collect a debt; and

(q) Failing to implement a procedure designed to prevent a violation by an
employee.

22. Plaintiff is, at all times relevant to this lawsuit, a “consumer” as that term is
defined by 15 U.S.C. § 1692a (3).

23. Plaintiffis, at all times relevant to this complaint, is a "Consumer" or "debtor"
Case 2:22-cv-11890-SFC-EAS ECF No.1, PagelD.9 Filed 08/14/22 Page 9 of 16

as an individual who is obligated or allegedly obligated to pay a debt at MCL
445.251(d).

24. Weltman is a "debt collector" under the Fair Debt Collection Practices Act
("FDCPA"), 15 U.S.C. §1692a (6) and Weltman is a "collection agency" as that term
is defined in the RMPCA, M.C.L. § 445.251(b).

25. Defendant was collecting a debt for Navient when it provided the collection
lawsuit to the process server to serve Ms. Usevicz under 15 U.S.C. §1692a (5) and
Weltman was collecting a "claim or debt" as that term is defined in the M.C.L. §
445.251(a).

26. Under 15 USC 1692a(6)(D), a process server is considered a third party
outside the regulation of the FDCPA and is listed as one of several exceptions in the
Act as to the definition of what the term “debt collector” means.

V. ALLEGATIONS AND PRACTICES COMPLAINED OF IN THIS CASE

27. Ms. Usevicz had learned that she was about to be served with a lawsuit when a
notice was left on her door by a process server seeking to serve her personally.

28. Ms. Usevicz has severe medical issues and long-haul symptoms of recent
infections and has a compromised immune system and so she hired an attorney to
contact Navient through their attorneys, Defendant Weltman so that the law firm

could serve her attorney directly to avoid contact with the process server.
Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.10 Filed 08/14/22 Page 10 of 16

29. Defendant Weltman served the lawsuit on Ms. Usevicz through her attorney

on June 28, 2022 after her counsel emailed Weltman to serve him:

From: Brian Parker <brianparker@collectionstopper.com>

Sent: Tuesday, June 28, 2022 1:10 PM

To: Best, Daniel < >; Jennifer Terese Dillow

Subject: Navient Credit Finance Corporation v STEPHANIE A. USEVICZ at Case #22-007344
in WCCC

Good afternoon Dan and Jennifer. I represent Ms. Stephanie A. Usevicz in the above
captioned titled case. Please email me the lawsuit and exhibits so that you can avoid paying
your process server on this and worrying my client with personal service. Thank you.

Brian Parker

From: Dillow, Jennifer <jdillow@weltman.com>

Sent: Tuesday, June 28, 2022 1:28 PM

To: Brian Parker <brianparker@collectionstopper.com>; Best, Daniel <dbest@weltman.com>

Subject: RE: Navient Credit Finance Corporation v STEPHANIE A. USEVICZ at Case #22-
007344 in WCCC

Good afternoon Brian,

Attached is a copy of the summons and complaint. Please return the completed acknowledgment
of service (page 2).

Thank you.

Jennifer T. Dillow
Attorney

Please see Exhibit 2.

30. Plaintiff answered the lawsuit along with a Counter claim on July 2, 2022 and

served the Answer on the Court and the Defendant Weltman. Please see Exhibit 3.

31. Though Defendant was well aware of the Plaintiff being represented by
counsel pursuant as of June 28, 2022 as stated above, Weltman went ahead and

served Ms. Usevicz personally on July 4, 2022 with all of Ms. Usevicz’s personal
Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.11 Filed 08/14/22 Page 11 of 16

debt information exposed to the third-party process server while Weltman attempted

to collect a debt from Plaintiff. Please see Exhibit 1, Exhibit 2 and Exhibit 3.

32. While collecting a debt and communicating the collection to Ms. Usevicz and
third parties, Weltman violated 15 USC 1692c(a)(1), 15 USC 1692c(a)(2), and 15
USC 1692c(b) because Defendant knew that Plaintiff had hired an attorney to accept
service of the lawsuit, had served Plaintiffs attorney, knew that Ms. Usevicz had
grave health issues and Weltman also knew it was serving a third party and breaching
the privacy rights of Ms. Usevicz as a consumer protected by the FDCPA.

33. Under 15 USC 1692n, a state law or rule such as the one used by Weltman to
serve Ms. Usevicz personally will not protect Defendant from liability when a
federal law under 15 USC 1692c(b), 15 USC 1692c(a)(1) and 15 USC 1692c(a)(2)
prohibits that same conduct.

34. Any debt collector who fails to comply with the provisions of the FDCPA is
liable for any actual damages sustained, statutory damages up to $1,000.00,
attorney’s fees as determined by the Court and costs of this action. 15 U.S.C. 1692k.

VI. CAUSES OF ACTION

DEFENDANT WELTMAN HAS VIOLATED THE FDCPA

(15 U.S.C. 1692¢(b))

35. Plaintiff realleges the above paragraphs 1-34 and Exhibits at 1-3.

36. Defendant Weltman was communicating and collecting a debt when it
Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.12 Filed 08/14/22 Page 12 of 16

violated 15 U.S.C. 1692c(b) by exposing Ms. Usevicz’s private debt information to

a third-party process server. Please see Exhibit 1.

37. Defendant violated 15 U.S.C. 1692c(b) by exposing Mr. White’s personal
and private debt information to a third party when it handed the uncovered and

open lawsuit to the process server. Please see Exhibit 1 and Exhibit 2.

38. Congress specifically references “invasions of individual privacy” like this
third-party exposure of Ms. Usevicz’s private debt information and the fact she is
facing a debt collector as one of the concerning effects of abusive debt collection
practices in the opening statute of the FDCPA regarding Congressional findings
and declarations of purpose at 15 U.S.C. §1692(a).

39. As a result of Defendant’s wrongful conduct and violations of 15 U.S.C.
1692c(b) with the exposure of private debt in formation of Ms. Usevicz to a third
party, Plaintiff has suffered great and further stress and anxiety and enhanced
symptoms of a nervous system already ravaged by disease and disability and long-
haul health symptoms, actual, emotional, and financial damages and seeks her

attorney fees and costs under the FDCPA and RMCPA. Please see Exhibit 1.

40. Plaintiff seeks judgment against the Defendant Weltman in whatever amount
that Plaintiff is entitled to under 15 U.S.C. § 1692k(a)(2)(A) and (3), plus
consequential damages and the costs and expenses and attorney fees of this action.

DEFENDANT WELTMAN HAS VIOLATED THE FDCPA

Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.13 Filed 08/14/22 Page 13 of 16

(15 U.S.C. 1692¢(a)(1) and (2)

41. Plaintiffs reallege the above paragraphs 1-40 and Exhibits at 1-3.

42. Defendant Weltman was aware of Ms. Usevicz’s of grave health situation
and that she was represented by an attorney who accepted service of the lawsuit on
June 28, 2022 her behalf to avoid contact with the process server and that Plaintiff
had Answered the lawsuit when Defendant Weltman later served Ms. Usevicz on
July 4, 2022 by personal service by a third party as stated above.

43. Asaresult of Defendant’s wrongful conduct of serving an attorney
represented consumer, Weltman violated (15 U.S.C. 1692c(a)(1) and (2)

44. As aresult of the violations of 15 U.S.C. 1692¢(a)(1) and 15 USC
1692c(a)(2), Plaintiff has suffered anxiety and stress and worsened pre-existing
conditions, statutory, actual, emotional, and financial damages and seeks her

attorney fees and costs under the FDCPA and RMCPA. Please see Exhibit 1.

45. Plaintiff seeks Judgment against the Defendant Weltman in whatever
amount that Plaintiff is entitled to under 15 U.S.C. § 1692k(a)(2)(A) and (3), plus
consequential damages and the costs and expenses and attorney fees of this action.

CLAIM AGAINST DEFENDANT WELTMAN UNDER
THE MICHIGAN REGULATION OF COLLECTION PRACTICES

MRCP

46. Defendant has violated MCLA 445.252et seq. in the following ways:

a. Defendant violated MCLA 445.252(m) by bringing to public notice
Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.14 Filed 08/14/22 Page 14 of 16

that the consumer is a debtor by placing the amount allegedly owed by
Plaintiff on the Summons when no court rule required this on the
summons. See Exhibits 1-2-3 above; and

b. Defendant violated MCLA 445.252(q) by failing to implement a

procedure designed to prevent a violation by an employee. Please
Exhibit 1-3; and

c. Defendant violated MCLA 445.252(n) with the harassing and
abusive attempt to collect a debt by providing the third-party process
server personal debt information of the Plaintiff and that she is being
pursued by a debt collector and publicizing the collection and the
amount being collected to the process server; and

d. Defendant violated MCLA 445.252(h) by contacting a consumer
that is represented by an attorney. Please Exhibit 1-3.

47. Because of Defendant’s wrongful conduct, Plaintiff has suffered statutory,
actual, emotional, and financial damages and seeks her attorney fees and costs
under the RMCPA.

48. Because of the actions of Defendant, Plaintiff hired the undersigned counsel.
Counsel has been an attorney in good standing in Michigan and Florida for 29
years and has handled thousands of consumer cases, personally. Counsel is known
in his field of a consumer advocate and a competent, experienced consumer trial
attorney. As a result, counsel’s time is billed at the reasonable rate of $450.00 an
hour.

49. Plaintiff seeks judgment against the Defendant Weltman in whatever amount
Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.15 Filed 08/14/22 Page 15 of 16

that Plaintiff is entitled to plus statutory, actual, and consequential damages and the
costs and expenses of this action.

Vil. PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that the Court enter Judgment
in her favor as follows under the above and Exhibit 1-3:
A. For the CAUSES OF ACTION UNDER THE FDCPA:
(i) | An award of the maximum statutory damages for Plaintiff pursuant to
15 U.S.C. § 1692k(a)(2)(A); and
(ii) An award of actual damages for Plaintiff pursuant to 15 U.S.C. §
1692k(a)(1); and
(iii) For declaratory relief, pursuant to 28 U.S.C. §§ 2201, 2202 adjudging
Defendant’s collection conduct through a third-party process server,
violates the FDCPA; and
(iv) Attorney’s fees, litigation expenses, and costs pursuant to 15 U.S.C. §
1692k(a)(3); and
(v) For such other and further relief as may be just and proper.
B. For the CAUSE OF ACTION UNDER THE RMCPA:
(i) Plaintiff seeks Judgment against the Defendant in whatever amount
that Plaintiff is entitled to plus statutory, actual, and consequential

damages and the costs and expenses of this action.
Case 2:22-cv-11890-SFC-EAS ECF No. 1, PagelD.16 Filed 08/14/22 Page 16 of 16

(ii) Under MCL 445.257, Recovery shall be in the amount of actual
damages or $50.00, whichever is greater. If the court finds that the
method, act, or practice was a wilful violation, the court may assess a
civil fine of not less than 3 times the actual damages, or $150.00,
whichever is greater, and shall award reasonable attorney's fees and
court costs incurred in connection with the action.

(iii) For such other and further relief as may be just and proper.

VI. DEMAND FOR JURY

Plaintiff Seeks a Demand for Jury with this Action.
Respectfully submitted,

THE LAW OFFICES OF BRIAN P.
PARKER, PC

/s/ Brian P. Parker

Brian P. Parker (P48617)
Dated: August 14, 2022 Attorney for Plaintiff Usevicz
